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NO. 2024CR2701
THE STATE OF TEXAS IN THE DISTRICT COURT
vs. 437™ DISTRICT COURT
BRENNAND, JAMES BEXAR COUNTY TEXAS
FINAL SCHEDULING ORDER
On the day of October 2024, the Court enters the following order pursuant to
Article 28.01 of the Texas Code of Criminal Procedure, in the above reference cause:
Date Action
MARCH 07, 2025 Discovery Deadline
MARCH 20,2025 Pre-trial motions must be filed.
APRIL 3, 2025 Pre-trial matters will be heard.
APRIL 10, 2025. Docket call
APRIL 11,2025 Voir Dire begins
APRIL 14, 2025 Trial Date

The clerk is ordered to serve this order upon counsel for, ee and Defense.
SIGNED and ENTERED this_/ Fay of ( Vhs CA, 20 4]

